Case: 1:17-cv-06645 Document #: 1-9 Filed: 09/14/17 Page 1 of 9 Page|D #:96

Payton])aml

ATTORNEYS

Rusty A. Payton 115 South LaSalle Street, #2600
Marc E. Dann Chicago, IL 60603
312-702 1000/Te1ephone & Fax

 

June 23, 2017

BSI Financial Services

Attn: Qualitied Written Requests
P.O. Box 517

314 S. Franklin Street

Titusville, PA 16354

*Sent via Certi]‘iea’ Mail return receipt requested [ 701 4 2120 0003 0666 1683]

In the Matter of:
Borrower’s Name: Leonard Williams
Property Address: 15526 Drexel Avenue

Dolton, IL 60419
Mortgage Account No.: 1406542723

"‘*If responding to this correspondence by e-mail, please send to notices@annlaw.com

Re: Notice of Error pursuant to 12 C.F.R. §1024.35(b)(11) for failure to properly respond to a
Request for Information in compliance With 12 C.F.R. §1|]24.36

Dear Sir or Madam:

Please consider this letter to constitute a Notice of Error under 12 C.F.R. § 1024.35 of Regulation X of
the Mortgage Servicing Act under the Real Estate Settlement Procedures Act (RESPA), Which became
effective on January lO, 2014. These amendments implemented the Dodd-Frank Wall Street Reform and
Consurner Protection Act provisions regarding mortgage loan servicing

You must acknowledge receipt of this Notice within five {5) days thereof, excluding legal public holidays,
Saturdays and Sundays.

You must advise us of your responses to this notice within thirty (30! days of receipt thereof, excluding
legal public holidays, Saturdays and Sundays.

The Written authority of the above-referenced borrower (the “BorroWer”) for this notice to our law firm is
enclosed and incorporated herein by this reference.

On or about March 21, 2017, the Borrower sent a letter captioned “Request for Information Pursuant to
12 C.F.R. § 1024.36” (the “RFI”) to BSI Financial Services (“BSI”) via Certii`led U.S. Mail [Receipt No.:
7014 2120 0003 0665 6689]. A copy of the RFI is enclosed for your reference and revieW.

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Jane 23, 2017

Poge 2.' Notfce ofErrorfor lnsujj‘t`ctent Response to Requestfor Information (Leonard Willt`oms)

The RFI requested the following information and/or documents:

1.

An exact reproduction of the life of loan mortgage transactional history
for this loan from the contract system of record from your electronic
software program for this loan.

For purposes of identification, the life of loan transactional history
means any software program or system by which the servicer records
the current mortgage balance, the receipt of all payments, the
assessment of any late fees or charges, and the recording of any
corporate advances for any fees or charges including but not limited to
property inspection fees, broker price opinion fees, legal fees, escrow
fees, processing fees, technology fees, or any other collateral charge
Also, to the extent this life of loan transactional history includes in
numeric or alpha-numeric codes, please attach a complete list of all such
codes and state in plain English a short description for each such code.

Copies of any and all servicing notes related to your servicing of the
above-referenced mortgage loan for the past two (2) calendar years.

Copies_ of any and all broker’s price opinions you performed or
otherwise obtained for the above-referenced property in relation to the
above-referenced mortgage loan.

-The physical location of the original note related to the above-

referenced mortgage loan.

A true and accurate copy of the original note related to the above-
referenced mortgage loan.

The identity, address, and other relevant contact information for the
custodian of the collateral file containing the original collateral
documents for the above-referenced mortgage loan, including, but not
limited to the original note.

A detailed copy of your last two (2) analyses of the escrow account of
the mortgage

Please state each and every date during the time period from January 10,
2014, to the present on which you received a complete loss mitigation
application from the above-referenced borrowers.

Please note that, pursuant to 12 C.F.R. § 1024.41(b)(1), a “complete loss
mitigation application” is defined as “an application in connection with
which a servicer has received all the information that the servicer
requires from a borrower in evaluating applications for the loss
mitigation options available to the borrower.”

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Jttne 23, 201 7
Page 3.' Notice of Error for lnsajjt`eient Response to Request for Information (Leonord Willioms)

BSI received the RFI on March 27, 2017. A copy of the Tracking Information for the RFI, obtained from
the United States Postal Service’s website {www.usps.com), is enclosed for your reference and review.

Pursuant to 12 C.F.R. § 1024.36(d)(2)(i)(B), BSI was to provide the information requested by the RFI
within thirty (30) days (excluding legal public holidays, Saturdays and Sundays) after receipt of the RFI.

As such, pursuant to 12 C.F.R. § 1024.36(d)(2)(i)(B), BSI was to provide our office with the information
requested by the RFI on or before May 8, 2017.

On or about May 8, 201 T, BSI sent correspondence to the Borrower, by and through our office, purportedly
in response to the RFI (the “Response”). The Response, however, is deficient as it fails to provide
information and/or documentation consisting of or otherwise related to:

2. Copies of any and all servicing notes related to your servicing of the
above-referenced mortgage loan for the past two (2) calendar years.

In regards to such unfulfilled request, BSI stated: “With regard to servicing notes related to our servicing
of your clients’ account is considered [sic] proprietary, confidential or privilege [sic] information of BSI
and will not be provided.”

Comment 1 to 12 C.F.R. § 1024.36(f)(1)(ii) provides illustrative examples as to what constitutes

confidential, proprietary, or privileged information for the purposes of requests for information pursuant
to 12 C.F.R. § 1024.36:

Contidential, proprietary or privileged information may include
information requests relating to, for example:

i. Information regarding management or profitability of a servicer,
including information provided to investors in the servicer.

ii. Compensation, bonuses, or personnel actions relating to servicer
personnel, including personnel responsible for servicing a
borrower's mortgage loan account;

iii. Records of examination reports, compliance audits, borrower
complaints, and internal investigations or external investigations;
or

iv. Information protected by the attorney-client privilege

The request for servicing notes as contained in the RFI does not bear any resemblance to the types of
requests for which the Consumer Financial Protection Bureau provides guidance as to what constitutes a
request that seeks proprietary and confidential information To the extent that proprietary and confidential
may be included within some of the information and/or documents requested by and through the RFI, such
information and/or documentation can be withheld and/or redacted The fact that some such information
may be contained within such documents does not wholly absolve BSI of their obligation to produce
information contained within such documents that is not proprietary and confidential. Specifically as to
request for servicing notes, to the extent that such servicing notes may contain proprietary and confidential
information, such information may be redacted, but the fact that s_o@ information in the servicing notes
may be proprietary and confidential does not allow for BSI to refuse to provide gay of the servicing notes
for the loan as requested

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June 23, 2017
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Wherefore, the Borrower hereby alleges that BSI’s actions, in failing to provide all of the information
requested by and through the RFI, constitute a willful violation of 12 C.F.R. § 1024.36. The Borrower
further asserts that BSI’s actions, Mch, constitute an error in the servicing of the Borrower’s
mortgage loan account pursuant to 12 C.F.R. § 1024.35(b)(11).

As such, the Borrower hereby demands that BSI provide all of the information and/or documentation
requested by and through the RFI, or, in the alternative, provide specific, valid justifications as to Why
BSI will not supply the information requested by and through each of the requests in the RFI.

Please correct this error as described herein and provide us with notification of the correction, the date of
the correction, and contact information for further assistance; or after conducting a reasonable
investigation, provide the Borrower, through our flrm, with a notification that includes a statement that
the servicer has determined that no error occurred, a statement of the reason(s) forming the basis for such
determination, a statement of the Borrower’s right to request documents relied upon by the servicer in
reaching such determination, information regarding how the Borrower can request such documents, and
contact information for further assistance

Best Regards,

 

Enclosure

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ATT`OF{NE,YS

Rusty A. Payton 115 South LaSalle Street, #2600
Marc E. Dann Chicago, IL 60603
3 l 2-702-1000/'1` elephone & Fax

 

March 21, 2017

BSI Financial Services

Attn: Qualified Writt_en chuests
1425 Greenway Drive, Suitc 400
Irving, Tx 75038

*Seht via Ceriijied Maii return receipt reqt.testeci [ 7 01 4 2120 0003 066.§ 6689]

In the Matter of:
Borrower’s Name: Leonard Williams
Property Address: 15526 Drexel Avenue

Dolton, IL 60419
Mortgage Account No.: 1406542723

**If responding to this correspondence by e-mail, please send to hotiee§@g§nnnlaw.com

Re: Request for Information Pursuant to 12 C.F.R. § 1024.36

Dear Sir or Madam:

This is a Request for lnformation related to your servicing of the above-referenced mortgage loan. All references
herein are to Regulation X of the Mortgage Servicing Aet as amended by the Consumer Financial Protection

Bureau pursuant to the Dodd Franl< Act. '

The Written authority of the above-referenced borrower for this request to our law firm is enclosed herewith and
incorporated herein by this reference

Pursuant to 12 C.F.R. § 1024.36(0), you must provide our office with a Written response acknowledging receipt
of this notice within five (5! days ofsuch, excluding legal public holidays, Saturdays, and Sundays.

Moreover, pursuant to 12 C.F.R. § 1024.36(d)(ii)(2)(13), you must provide the information requested, infra, within
thirty 1302 days after your receipt of this request, excluding legal public holidays, Saturdays, and Sundays.

Please provide the following information within the time periods noted herein:

1. An exact reproduction of the life of loan mortgage transactional history for this loan from the contract
system of record from your electronic software program for this loan.

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Mareh 21, 2017
Page 2: Requestjor Informatz'on (RESPA) for Leonard W¢`llioms

For purposes of identification, the life of loan transactional history means any software program or system
by which the servicer records the current mortgage balance, the receipt of all payments, the assessment of
any late fees or charges, and the recording of any corporate advances for any fees or charges including but
not limited to property inspection fees, broker price opinion fees, legal fees, escrow fees, processing fees,
technology fees, or any other collateral charge Also, to the extent this life of loan transactional history
includes in numeric or alpha-numeric codes,, please attach a complete list of all such codes and state in
plain Englisb a short description for each such codc.

2. Copies of any and all servicing notes related to your servicing of the above-referenced mortgage loan for
the past two (2) calendar years.

3. Copies of` any and all brolcer’s price opinions you performed or otherwise obtained for the above-
referenced property in relation to the above-referenced mortgage loan.'

4. The physical location of the original note related to the above-referenced mortgage loan.

5. A true and accurate copy of the original note related to the above-referenced mortgage loan.

6. The identity, address, and other relevant contact information for the custodian of the collateral file
containing the original collateral documents for the above-referenced mortgage loan, including but not
limited to the original note.

7. A detailed copy of your last two (2) analyses of the escrow account of the mortgage

8. Please state each and every date during the time period from January 10, 2014, to the present on Which
you received a complete loss mitigation application from the above-referenced borrowers

Please note that, pursuant to 12 C.F.R. § 1024.41(b)(1), a “complete loss mitigation application” is defined
as “an application in connection with which a servicer has received all the information that the servicer
requires from a borrower in evaluating applications for the loss mitigation options available to the
borrower.”

Best Regards,

  

P B.Bjamy

 

Enclosure

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Re: Writtcn Cnnnant/authnrimtinn for sequential for reformation
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To Whom lt May Conr:ern;

I/We, the horrower{s). do hereby authorize and provide our written consent and
authorization fm~ g \ B"E> F:\ merrill al S§"r"\/¢ C`.¢!. 5 § nw
Servicer of the above-referenced loan, to fully cooperate wll;l‘;, comply With, and provide any and all
Infcrmnrion requested ar demanded by and through any and all Raqnesta for Informnttnn and/or
Nntiees of lter pertaining to our loan, pursuant to the Ranl Bstat‘e tiettlement and Frncednrns ncr
[l‘tegulotion X] and/or the Truth in I.endlng net {llegulntion Z] which may be sent by A.ttorneys
Marc Dann, Dnniel nolan Paul Bellarny. Wiltiam Bshrnns, nancy A. Paytcn, jeffrey Long. ]avter
Mertno. Latrt¢:e Latin, Ilmily White, Whitnny Ksscer er Br!an Flink on our bellnlf. Sald counsel
renresenw us in any and all pending or contemplated legal matters ¢.‘onr:erning the above
referenced tenn please respond tn any and all such sequester and Nnttces aetna following address:

'l‘he nunn an Ftrm Cn., LPA
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Signed: d _ MM pmm ll altJU/Q
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Case: 1:17-Cv-06645 Document #: 1-9 Filed: 09/14/17 Page 9 of 9 Page|D #:104
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Tracking Number: 70142120000306656689
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Updated Delivery Day: Monday, March 27, 2017 ®
Procluct & Tracklng information see valuable Actions
Postal Product: Features:
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March 27, 2017, 3:50 pm Delivered, Front Desk/Reception [RV|NG, TX 75038
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Your item was delivered to the front desk or reception area at 3:50 pm on March 27, 2017 in lRV|NG, TX 75033.
March 27, 2017, ?:23 am Out for De|ivery iFiVlNG, TX 75038
March 27, 2017, 7:13 am Sorting Comp|ete lHVlNG, `|'X 75038
March 27, 2017, 6:32 am Arrived at Unit lHV|NG, TX 75038
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